Case 21-30589-MBK   Doc 2547-1 Filed 06/21/22 Entered 06/21/22 16:19:55   Desc
                            Exhibit A Page 1 of 2



                                  Exhibit A
                                 Case 21-30589-MBK                           Doc 2547-1 Filed 06/21/22 Entered 06/21/22 16:19:55                                                    Desc
                                                                                        LTL MANAGEMENT LLC
                                                                                     Exhibit A Page 2 of 2
                                                                                                       CASE NO. 21-30589-MBK



                                                                                                                                                                                                              Interim
                                                                                                                                      Fee Examiner's                     Fee Examiner's      Interim Fees
                                                      1                                First Compensation          Interim Fees                      Interim Expenses                                        Expenses
                                            Applicant                                                                               Recommended Fee                      Recommended      Recommended for
                                                                                              Period                Requested                           Requested                                         Recommended
                                                                                                                                       Adjustments                    Expense Adjustments      Approval
                                                                                                                                                                                                           for Approval
             First Interim Fee Application
             Co-Counsel to the Official Committee of Talc Claimants I
       1
             Brown Rudnick LLP [Dkt. No. 1761]                                         11/12/21 - 2/28/22     $        7,758,952.75 $      560,239.50 $   298,265.35 $         2,639.57 $    7,198,713.25 $   295,625.78
             Co-Counsel to the Debtors
       2
             Rayburn Cooper & Durham, P.A. [Docket No. 1748]2                          10/14/21 - 2/28/22     $          190,866.50 $       12,424.20 $    12,957.89 $              -   $      178,442.30 $    12,957.89
             TOTALS                                                                                           $        7,949,819.25 $      572,663.70 $   311,223.24 $         2,639.57 $    7,377,155.55 $   308,583.67

1
    Cooley LLP [Dkt. No. 1767] requested adjournment to the September 14, 2022 omnibus hearing date.
2
    First Interim and Final Fee Application




                                                                                                                  1 of 1
